     Case 2:11-cr-00107-SAB        ECF No. 1486    filed 11/14/13   PageID.7002 Page 1 of 1




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 5                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF WASHINGTON
 6
 7 UNITED STATES OF AMERICA,                       No.    CR-11-0107-WFN-18
 8                                Plaintiff,       ORDER GRANTING DEFENDANT'S
 9              -vs-                               MOTION TO WITHDRAW § 2255
                                                   MOTION
10
     HEATH TYLER WISDOM,
11
12                                Defendant.

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14              Pending before the Court is Defendant’s Motion to Withdraw Petition to Vacate
15   filed Pursuant to 28 U.S.C. § 2255 (ECF No. 1485). Mr. Wisdom requests to withdraw his
16   previously filed Motion. The Court has reviewed the file and Motion and is fully informed.
17   Accordingly,
18              IT IS ORDERED that Defendant’s Motion to Withdraw Petition to Vacate filed
19   Pursuant to 28 U.S.C. § 2255, filed on November 8, 2013, ECF No. 1485, is GRANTED.
20   Defendant's Motion to Vacate, Set Aside, or Correct Sentence under 28 U.S.C. § 2255
21   shall be WITHDRAWN from consideration.
22              The District Court Executive is directed to file this Order, terminate ECF No. 1471
23   as a pending motion, and provide copies to counsel and pro se Defendant.
24              DATED this 14th day of November, 2013.
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27                                                  s/ Wm. Fremming Nielsen
                                                      WM. FREMMING NIELSEN
28   11-14-13                                  SENIOR UNITED STATES DISTRICT JUDGE

     ORDER GRANTING DEFENDANT'S MOTION
     TO WITHDRAW § 2255 MOTION
